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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    CENTRAL DIVISION
                                       FRANKFORT


 MID-AMERICA MILLING COMPANY,
 LLC, et al.,

                Plaintiffs,

        v.                                               Case No. 3:23-cv-00072-GFVT

 UNITED STATES DEPARTMENT OF
 TRANSPORTATION, et al.,

                Defendants.


                   DEFENDANTS’ RESPONSE IN OPPOSITION TO
               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       The Court should deny Plaintiffs’ Motion for Preliminary Injunction, ECF No. 27, because

Plaintiffs have failed to establish that they are entitled to the extraordinary remedy of preliminary

injunctive relief against the operation of the Department of Transportation’s Disadvantaged

Business Enterprise (DOT DBE) program. First, Plaintiffs cannot demonstrate a clear likelihood

of success on the merits because Plaintiffs do not have standing to challenge the program, and even

if they had standing, the DOT DBE program survives strict scrutiny and has been held

constitutional by every court of appeals that has reviewed the program. Second, Plaintiffs have

failed to show they are at imminent risk of suffering irreparable harm absent an injunction—

notably, they do not identify any current transportation construction contract letting process that

has race- or gender-based subcontracting goals due to the DOT DBE program. Finally, the balance

of equities and the public interest weigh heavily in the government’s favor. Any alleged burden on

the constitutional rights of Plaintiffs’ owners is far outweighed by the burden that would be created
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by requiring the suspension of DOT’s effort to remedy specified past and ongoing discrimination

in the transportation industry. Finally, even if the Court awards injunctive relief, any injunction

should be carefully tailored to remedy Plaintiffs’ alleged injuries.

I.     BACKGROUND

       A.      The DOT DBE Program

       The DOT DBE program is designed to provide fair and efficient small business contracting,

including by remedying ongoing discrimination and the continuing effects of past discrimination

in federally assisted highway, transit, and airport contracting markets nationwide. See 49 C.F.R.

§ 26.1; see also, e.g., W. States Paving Co. v. Wash. State Dep’t of Transp., 407 F.3d 983, 991–93

(9th Cir. 2005) (holding that the program serves the compelling interest of correcting and

preventing discrimination in the “transportation contracting industry”). To that end, the DOT DBE

program requires state and local recipients of federal transportation funds to set overall goals for

the participation of “socially and economically disadvantaged” small business owners on public

contracts, based on local market conditions. See Pub. L. No. 177-58, § 11101(e), 135 Stat. 429,

449 (Nov. 15, 2021) (Infrastructure Act); 49 C.F.R. § 26.45. “[S]ocially disadvantaged

individuals” are “those who have been subjected to racial or ethnic prejudice or cultural bias within

American society[.]” 49 C.F.R. Part 26 app. E. “Economically disadvantaged individuals are

socially disadvantaged individuals whose ability to compete in the free enterprise system has been

impaired . . . as compared to others in the same . . . line of business who are not socially

disadvantaged.” Id. Any person may qualify as socially and economically disadvantaged (a

prerequisite for DBE status), regardless of their race or gender. 49 C.F.R. § 26.67(d) & app. E.

The only race- or gender-based aspects of the DOT DBE program are the rebuttable presumptions

of social and economic disadvantage afforded to applicants who are women or members of certain



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racial and ethnic groups. 49 C.F.R. § 26.5.

       The Infrastructure Act provides that, “[e]xcept to the extent the Secretary [of

Transportation] determines otherwise,” “not less than” 10 percent of federal funding for surface

transportation and public transit projects “shall be expended” on contracts awarded to small

business concerns “owned and controlled by socially and economically disadvantaged

individuals.” Pub. L. No. 117-58, § 11101(e)(3), 135 Stat. at 449. This national goal, however, is

only “aspirational” and has no impact on the program’s implementation. 49 C.F.R. § 26.41(b).

Recipients are not required “to set overall or contract goals at the 10 percent level, or any other

particular level, or to take any special administrative steps if their goals are above or below 10

percent.” Id. § 26.41(c). Instead, each recipient must set an overall DBE goal “based on

demonstrable evidence of the availability of ready, willing and able DBEs relative to all businesses

ready, willing and able to participate on” contracts that the recipient oversees. Id. § 26.45(a)–(b).

In determining the local DBE participation goal, recipients may “account for the continuing effects

of past discrimination . . . or the effects of an ongoing DBE program” and may adjust the local

goal “based on demonstrable evidence that is logically and directly related to the effect for which

the adjustment is sought.” Id. § 26.45(d).

       A recipient of DOT funding “must meet the maximum feasible portion of [its] overall

[DBE] goal by using race-neutral means.” Id. § 26.51(a).1 If race-neutral means are not sufficient,

then the recipient sets goals for DBE subcontractor participation on specific contracts. Id.

§ 26.51(d). Even then, a recipient may only include contract goals to the extent necessary to meet




1
  “Race-neutral” refers to a “measure or program . . . that is, or can be, used to assist all small
businesses [and] includes gender-neutrality,” whereas “race-conscious” or “race-based” refers to
a “measure or program . . . that is focused specifically on assisting only DBEs, including women-
owned DBEs.” 49 C.F.R. § 26.5.
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any portion of its overall goal that it could not meet with race-neutral means. Id. § 26.51(d), (f)(2).

Thus, a DOT funding recipient might never include DBE goals on contracts, and non-DBE

subcontractors may compete against DBEs in an open market depending upon the contract.

       Finally, a DBE participation goal does not operate as a quota or set-aside. See 49 C.F.R.

§ 26.43. Instead, the prime contractor must meet the goal by hiring DBE subcontractors or show

that it could not do so despite using good-faith efforts. Id. § 26.53 & App. A. If the prime contractor

used good-faith efforts, it may not be denied an award because of its failure to meet the goal. 49

C.F.R. § 26.53. A non-DBE subcontractor is free to bid on any subcontract, regardless of whether

it includes a DBE participation goal.

       B.      Procedural History

       On October 13, 2023, Plaintiffs filed a Complaint challenging the constitutionality of

certain provisions of the DOT DBE program that apply to “socially and economically

disadvantaged individuals.” See, e.g., Compl., ECF No. 1 (Complaint), ¶ 3 (quoting Pub. L. No.

117-58, § 11101(e), 135 Stat. at 449). Notably, the Complaint does not allege whether Plaintiffs’

owners are socially or economically disadvantaged, or identify their race or gender. Nor does the

Complaint identify the Plaintiff businesses’ ownership structure or their small business status. And

although Plaintiffs purport to “seek relief against Defendants alone,” id. ¶ 42, they nevertheless

seek injunctive and declaratory relief that would “end[] the DBE program once and for all,” id. ¶

10. On December 15, 2023, more than two months after they filed the Complaint and 40 years

after Congress first authorized the DOT DBE program, Plaintiffs filed a motion for a preliminary

injunction. See ECF No. 27. That motion seeks an injunction “prohibiting Defendants from

implementing or enforcing the DBE Program’s race and gender presumptions and DBE

participation goal as set forth in P.L. 117-58, § 11101(e) and in 49 C.F.R. §§ 26.21, 26.41, 26.45,



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26.47, 26.5, 26.51, 26.53, 26.67, 26.69, and 13 C.F.R. §§ 124.101, 124.103, 124.104, 124.105,

and/or as otherwise applied to the DBE Program and other DBE programs and services” while this

case proceeds. Id. at 1.

II.    LEGAL STANDARD

       A preliminary injunction is an “extraordinary and drastic” remedy, “never awarded as of

right.” Am. Civil Liberties Union Fund of Mich. v. Livingston Cty., 796 F.3d 636, 642 (6th Cir.

2015) (internal quotation marks and citation omitted). In determining whether to grant a

preliminary injunction, the Court considers: “(1) whether the movant has a strong likelihood of

success on the merits; (2) whether the movant would suffer irreparable injury absent the injunction;

(3) whether the injunction would cause substantial harm to others; and (4) whether the public

interest would be served by the issuance of an injunction.” Am. Civil Liberties Union Fund of

Mich., 796 F.3d at 642 (internal quotation marks and citation omitted). The plaintiff bears the

burden of proving that an injunction is proper. See Overstreet v. Lexington-Fayette Urban Cty.

Gov’t, 305 F.3d 566, 573 (6th Cir. 2002). And “the proof required for the plaintiff to obtain a

preliminary injunction is much more stringent than the proof required to survive a summary

judgment motion.” McNeilly v. Land, 684 F.3d 611, 615 (6th Cir. 2012) (quoting Leary v.

Daeschner, 228 F.3d 729, 739 (6th Cir. 2000) (internal quotation marks omitted).

III.   ARGUMENT

       A.      Plaintiffs Cannot Show that They Are Likely to Succeed on Their Facial
               Challenge to the DOT DBE Program.

               1.      Plaintiffs Lack Standing.

       Plaintiffs cannot show that they are likely to succeed on their facial challenge to the DOT

DBE program because they lack standing to do so. A “party who fails to show a ‘substantial

likelihood’ of standing is not entitled to a preliminary injunction.” Memphis A. Philip Randolph

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Inst. v. Hargett, 978 F.3d 378, 386 (6th Cir. 2020) (quoting Waskul v. Washtenaw Cty. Cmty.

Mental Health, 900 F.3d 250, 256 n.4 (6th Cir. 2018)). This is because “an affirmative burden of

showing a likelihood of success on the merits . . . necessarily includes a likelihood of the court’s

reaching the merits, which in turn depends on a likelihood that plaintiff has standing.” Waskul,

900 F.3d at 256 n.4 (quoting Nat’l Wildlife Fed’n v. Burford, 835 F.2d 305, 328 (D.C. Cir. 1987)

(internal quotation marks omitted)) (emphasis in original).

        Article III standing requires a plaintiff to establish: (1) a concrete and particularized, actual

or imminent injury (2) that is traceable to the defendant, and (3) proof that a favorable outcome

would redress the harm. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992); Vonderhaar v.

Vill. of Evendale, 906 F.3d 397, 401 (6th Cir. 2018). Plaintiffs have not shown an injury in fact,

nor have they shown that they have suffered a traceable and redressable injury.

                        a.      Plaintiffs Have Not Shown They Have Suffered an Injury in Fact
                                Because They Do Not Show They Have Lost Out on Specific
                                Contracts with DBE Participation Goals or that They Likely Will
                                Do So in the Future.

        Plaintiffs lack standing because they have not shown they have suffered an injury in fact. In

an equal protection challenge to racial or gender classifications, a plaintiff may show injury in fact

where it adequately pleads that it is “able and ready to bid on contracts and that a discriminatory

policy prevents it from doing so on an equal basis.” Ne. Fla. Chapter of Associated Gen.

Contractors of Am. v. City of Jacksonville, Fla. (Jacksonville), 508 U.S. 656, 666 (1993). In

Jacksonville, the Supreme Court held that an association of general contractors established an

injury in fact where many of its members “regularly bid on and perform[ed] construction work for

the City of Jacksonville,” and “would have . . . bid on . . . designated set aside contracts but for the

restrictions imposed” by a city ordinance that set aside funding for city projects for certain

minority-owned businesses. Id. at 659 (internal quotation marks and citation omitted); see also

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Bruckner v. Project Mgmt. Corp., __ F. Supp. 3d __, 2023 WL 2744026, at *4 (M.D. Fla. Mar.

31, 2023) (“a plaintiff must ‘clearly’ ‘allege facts demonstrating’ that he is ‘able and ready’ to bid

on contracts under a discriminatory scheme”) (quoting Spokeo, 578 U.S. at 338; Jacksonville, 508

U.S. at 666).

        Plaintiffs assert that they are “able and ready to bid” on transportation contracts “impacted

by Defendants’ implementation of the federal DBE program,” and allege that the 10 percent goal

is “not merely aspirational in practice” but “bars companies like Plaintiffs from competing on

equal footing with DBE enterprises.” Br. in Supp. of Pls.’ Mot. for Prelim. Inj., ECF No. 27-1

(Brief) at 4-5; see also Decl. of Kramer Koetter, ECF No. 27-2 (Koetter Decl.), ¶ 35. These

conclusory statements are not enough, however, to establish injury in fact. See, e.g., Bruckner,

2023 WL 2744026, at * 4.

        First, Plaintiffs mischaracterize the DOT DBE program, stating that DBE participation

goals are essentially “quotas” that amount to a “gender- and race-based mandate” that “10% of all

new surface transportation funding” shall be allocated to DBEs. See Br. at 2. This is incorrect. The

DOT DBE program expressly prohibits recipients from using quotas to meet DBE goals. See 49

C.F.R. § 26.43(a). Second, the program does not require that 10 percent of surface transportation

federal funding be allocated to DBEs. The authorizing statute calls for the expenditure of “not less

than 10 percent” of funds with DBEs “except to the extent the Secretary determines

otherwise.” Pub. L. No. 117-58, § 11101(e)(3), 135 Stat. at 449. In exercising that discretion, the

Secretary has decided to treat the 10 percent goal as only “an aspirational goal at the national level”

that “does not authorize or require recipients to set overall or contract goals at the 10 percent level,

or any other particular level.” 49 C.F.R. § 26.41. Importantly, recipients—not Defendants—set

their own goals, which must be based on “demonstrable evidence of the availability of ready,



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willing and able DBEs relative to all businesses ready, willing and able to participate” in DOT-

assisted contracts, and “must reflect [the recipient’s] determination of the level of DBE

participation [it] would expect absent the effects of discrimination.” Id. § 26.45(b). And a recipient

may not “simply rely on either the 10 percent national goal, [its] previous overall goal, or past

DBE participation rates in [its] program without reference to the relative availability of DBEs in

[its] market.” Id.

        Recipients are likewise prohibited from using set-aside contracts for DBEs, except for

limited and extreme circumstances “when no other method could be reasonably expected to redress

egregious instances of discrimination.” Id. § 26.43(b). Notwithstanding the language regarding the

use of set asides in “limited and extreme circumstances,” there is no evidence that any recipient

uses set asides in any circumstances, and Plaintiffs do not demonstrate otherwise. See Ex. 1, Decl.

of Martha Kenley (Kenley Decl.), ¶ 3.

        While some contracts do include DBE participation subcontracting goals, that fact alone

does not establish standing because many contracts do not have DBE goals, and non-DBE

subcontractors can participate on contracts with goals. Plaintiffs allege generally in their

Complaint that they bid on contracts with DBE goals, see Compl. ¶ 37, but they do not show or

even allege that their bids on these contracts have ever been unsuccessful. 2 Nor do Plaintiffs



2
  Plaintiffs state that they submitted low bids for DOT-funded contracts and that the contracts were
awarded to DBEs, and they suggest that such information, standing alone, constitutes evidence
that they were harmed by the DBE presumptions. See Compl. ¶¶ 8, 38; Koetter Decl., ¶¶ 21–30;
Decl. of Gregory Bagshaw, ECF No. 27-3 (Bagshaw Decl.), ¶¶ 14–15. But not being selected for
a contract does not mean that the contracts they cite necessarily had DBE participation goals. DBEs
can and do bid on contracts without DBE goals, and prime contractors may choose not to award
contracts to the low bidder for reasons unrelated to DBE status (for example, based on the quality
of a bidder’s work). See Ex. 1 (Kenley Decl.), ¶ 5 (explaining that numerous factors are considered
in awarding a contract other than DBE status and that contracts are awarded to recipients who have
not submitted the lowest bid regardless of DBE status).


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identify any specific contracts with goals on which they intend to bid in the future. Although

Plaintiffs allege generally that “Kentucky and Indiana have established DBE goals according to

the federal regulations,” Compl. ¶ 35, and that “[b]oth states use DBE goals on their projects,”

Bagshaw Decl., ¶ 13, they fail to allege whether they intend to bid on or pursue specific contracts

with DBE participation goals.

       For instance, Plaintiff Bagshaw Trucking’s vice president states only that “Indiana and

Kentucky continuously post new opportunities to bid, and these upcoming projects continue to

require DBE goals, just as they have for decades,” and “it is certain that each month that goes by,

Bagshaw [Trucking] will continue to be negatively impacted by the race and gender preferences

imposed by the DBE program.” Bagshaw Decl., ¶ 17. But under the program, even contracts with

DBE goals do not require 100 percent DBE participation and require prime contractors only to

make good faith efforts to meet those goals. See 49 C.F.R. §§ 26.51(d)–(e), 26.53. And Plaintiff

MAMCO does not even state that it intends to bid on upcoming contracts that contain DBE goals,

and instead states only that absent the race- and gender-based provisions in the DBE program,

“MAMCO would not be deterred from further competition for federal roadbuilding contracts and

could place additional bids.” Koetter Decl., ¶ 33. Plaintiffs have thus not shown that the DBE

program has caused them any injury or will do so in the future.

                       b.       Plaintiffs Fail to Demonstrate Traceability or Redressability
                                Because They Do Not Show that Enjoining Application of the DOT
                                DBE Program’s Rebuttable Presumptions Would Redress Their
                                Alleged Injuries.

       Plaintiffs’ failures to show an injury that is either fairly traceable to Defendants’ allegedly

unconstitutional conduct or redressable by a court order are independent bases for denying

Plaintiffs’ motion. To establish standing, “plaintiffs must not only trace an injury in fact to the

defendant’s conduct, but they also must establish that their requested relief will redress the injury.”

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Mann Constr., Inc. v. United States, 86 F.4th 1159, 1162 (6th Cir. 2023) (citing Steel Co. v.

Citizens for a Better Env’t, 523 U.S. 83, 103 (1998)). “If that relief does nothing to redress the

alleged injury, a court could do nothing more than issue a jurisdiction-less ‘advisory opinion.’” Id.

(quoting California v. Texas, 141 S. Ct. 2104, 2116 (2021)).

       As discussed above, the only part of the DOT DBE program that is race- or gender-based—

and therefore even potentially susceptible to Plaintiffs’ equal protection challenge—is its inclusion

of rebuttable presumptions of disadvantage. The “practice of setting goals for DBE participation

on some projects . . . is facially neutral because the DBE program requires only that qualifying

firms be certified as disadvantaged, not that they be owned and run by individuals of a particular

race or gender.” Klaver Const. Co. v. Kan. Dep’t of Transp., 211 F. Supp. 2d 1296, 1302 (D. Kan.

2022). “What renders these facially neutral practices potentially race- or gender-conscious is the

fact that [the program] accords a rebuttable presumption of disadvantaged status to individuals

who belong to certain groups that historically have been subjected to social and economic

disadvantage.” Id. In order to establish standing, therefore, Plaintiffs must show that their injuries

are caused by the presumptions and would be remedied by enjoining those presumptions. And they

must do more than merely speculate “that invalidating the allegedly unconstitutional preferences

would ameliorate [Plaintiffs’] ability to compete in any way.” Cache Valley Elec. Co. v. Utah

Dep’t of Transp., 149 F.3d 1119, 1123 (10th Cir. 1998). In Cache Valley, the Tenth Circuit held

that the plaintiff’s alleged injury from the DOT DBE program was not redressable because “any

anticipated redress from a favorable decision is wholly speculative” and that the plaintiff “adduced

no evidence that the elimination of the preferences would result in any meaningful reduction in

the number of qualifying DBEs.” Id.

       The same is true here. Plaintiffs fail to show that they would qualify for DOT DBE funding



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under the race- and gender-neutral requirements of the program if the rebuttable presumptions

were enjoined. Even if the DOT DBE program’s presumptions were enjoined, the program would

still continue to operate with its race- and gender-neutral requirements—including social and

economic disadvantage, business size and structure, ownership, and wealth limits—intact. In that

case, Plaintiffs would still only qualify as DBEs if they could show: (1) they are owned and

controlled by socially- and economically-disadvantaged individuals; (2) their owners meet the

personal wealth requirements; (3) they are small businesses; (4) their business structures comply

with DOT DBE program requirements; and (5) their businesses are independent. See 49 C.F.R.

§ 26.67.

       Plaintiffs fail to make any showings that they meet these requirements. And if Plaintiffs do

not meet these race- and gender-neutral requirements—for example, if they are owned by

individuals with a personal net worth exceeding $1.32 million, see 49 C.F.R. § 26.67(b), or if their

average annual gross receipts exceed the cap, see id. § 26.65(b)—then enjoining the presumptions

would leave Plaintiffs in exactly the same position and would certainly not redress their stated

injury. See Klaver Constr. Co., 211 F. Supp. 2d at 1304–05 (holding that plaintiff lacked standing

because “even if the Court were to declare rebuttable presumptions unconstitutional and enjoin

their use, [plaintiff’s] alleged diminished competitiveness would not be materially altered because

[plaintiff] would still be ineligible to participate in the DBE program for race- and gender-neutral

reasons”); see also Interstate Traffic Control v. Beverage, 101 F. Supp. 2d 445, 453 (S.D. W. Va.

2000) (“Absent fraud, removing the complained-of conduct, the allegedly unconstitutional

rebuttable presumption, from the application process would not alter the number or identity of

socially and economically disadvantaged individuals eligible to participate in DBE.”); Rothe Dev.,

Inc. v. U.S. Dep’t of Def., 836 F.3d 57, 61–64 (D.C. Cir. 2016) (holding that when a program


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limited access to “socially and economically disadvantaged” individuals, but contained no

presumptions about which groups met those definitions, it did not make race-based classifications

and was subject to rational basis review).

               2.      The DOT DBE Program Survives Strict Scrutiny.

       Even if the Court were to find that Plaintiffs have standing to seek preliminary relief,

Plaintiffs are unlikely to succeed on their challenge to the DOT DBE program because it is

constitutional. See Midwest Fence Corp. v. U.S. Dep’t of Transp., 840 F.3d 932, 935–36, 941 (7th

Cir. 2016); W. States Paving Co. v. Wash. State Dep’t of Transp., 407 F.3d 983, 995 (9th Cir.

2005); Sherbrooke Turf, Inc. v. Minn. Dep’t of Transp., 345 F.3d 964, 967–68 (8th Cir. 2003);

Adarand Constructors, Inc. v. Slater, 228 F.3d 1147, 1155 (10th Cir. 2000).3 This is so because




3
  Because Defendants can establish that both the race-based and gender-based classifications in
the DOT DBE program satisfy strict scrutiny, Defendants focus on that level of constitutional
analysis in this response. See Clark v. Jeter, 486 U.S. 456, 461 (1988) (“Classifications based on
race or national origin . . . are given the most exacting scrutiny,” while “intermediate scrutiny . . .
generally has been applied to discriminatory classifications based on sex[.]”) (internal citations
omitted). In any case, the program’s gender-based presumptions are equally constitutional and
survive intermediate scrutiny because they are “substantially and directly related to the
government’s objectives.” Vitolo v. Guzman, 999 F.3d 353, 364 (6th Cir. 2021) (internal quotation
marks and citation omitted). Other courts reviewing the DOT DBE program, its predecessors, or
similar state programs under intermediate scrutiny have reached the same conclusion for the same
substantive reasons. See Assoc. Gen. Contractors of Am., San Diego Chapter, Inc. v. Cal. Dep’t of
Transp., 713 F.3d 1187, 1195 (9th Cir. 2013) (concluding that because the state’s affirmative
action program “passes strict scrutiny,” it “is therefore unnecessary to undertake a separate
analysis under intermediate scrutiny”); W. States Paving Co. v. Wash. State Dep’t of Transp., 407
F.3d 983, 990 n.6 (9th Cir. 2005) (“[I]n this case, intermediate scrutiny would not yield a different
result than that obtained under strict scrutiny’s more stringent standard.”); Geyer Signal, Inc. v.
Minn. Dep’t of Transp., 2014 WL 1309092, at *12 n.4 (D. Minn. Mar. 31, 2014) (concluding that
“[b]ecause race is also used by the DBE Program . . . the Program must ultimately meet strict
scrutiny, and the Court therefore analyzes the entire Program for its compliance with strict
scrutiny,” and holding that it does); N. Contracting Inc. v. Illinois, 2004 WL 422704, at *24 n.34
(N.D. Ill. Mar. 3, 2004) (“Nevertheless, because the court concludes that the race-conscious
provisions of the federal and state DBE programs survive strict scrutiny, it follows that the
program’s gender-conscious provisions survive the lesser ‘intermediate scrutiny’ standard.”)
(citation omitted).
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the program is remedial, it is supported by a strong basis in evidence, and it is narrowly tailored.

       Because the program’s presumption of social and economic disadvantage includes a racial

classification, it is subject to strict scrutiny. See Adarand Constructors Inc. v. Peña, 515 U.S. 200,

227 (1995). Under strict scrutiny, the government may employ race-based measures in “remedial

settings” when necessary to dispel the effects of invidious discrimination. City of Richmond v. J.A.

Croson Co., 488 U.S. 469, 493 (1989). The government “bears the initial burden of demonstrating”

that the program is constitutional. Rutherford v. City of Cleveland, 179 F. App’x 366, 373 (6th Cir.

2006) (quoting Associated Gen. Contractors of Ohio v. Drabik, 214 F.3d 730, 735 (6th Cir. 2000)).

Once the government has satisfied that burden by presenting evidence, the burden shifts to the

plaintiff to prove its unconstitutionality. See id.; Aiken v. City of Memphis, 37 F.3d 1155, 1162

(6th Cir. 1994) (“The party challenging the [race-based affirmative action] plan, however, retains

the ultimate burden of proving its unconstitutionality.”).

                       a.       The DOT DBE Program Serves a Compelling Governmental
                                Interest.

                              i.       There Is a Strong Basis in Evidence that the DOT DBE
                                       Program Is a Necessary Remedial Measure.

       To employ race-based measures in “remedial settings,” Croson, 488 U.S. at 493, the

government must have “a strong basis in evidence for its conclusion that such action was

necessary” to further its compelling interests. Id. at 500; see Students for Fair Admission v.

President & Fellows of Harvard Coll. (SFFA), 600 U.S. 181, 207 (2023) (noting that “our

precedents have identified only two compelling interests that permit resort to race-based

government action,” including “remediating specific, identified instances of past discrimination

that violated the Constitution or a statute”) (citations omitted). The Sixth Circuit has held that the

strict scrutiny analysis for race-based government measures has three distinct elements. See Vitolo



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v. Guzman, 999 F.3d 353, 361 (6th Cir. 2021). First, the policy cannot rest on a generalized

assertion that there has been past discrimination, but instead must target a “specific episode of past

discrimination.” Id. (citing Croson, 488 U.S. at 498). Second, there must be evidence that supports

an inference of intentional discrimination. Id. (citing Croson, 488 U.S. at 503). And third, the

government must have had either an active or passive hand in the discrimination. If “the

government show[s] that it had essentially become a passive participant in a system of racial

exclusion . . . then the government can act to undo the discrimination.” Id. (citing Croson, 488

U.S. at 492). In that case, the Sixth Circuit concluded that the Small Business Administration’s

(SBA) distribution of grants from the Restaurant Revitalization Fund (RRF), which was intended

to aid small, privately owned restaurants affected by the pandemic, did not satisfy these

requirements because the government relied on “the effects of societal discrimination,” did not

identify past intentional discrimination, and had not shown it participated in the discrimination it

sought to remedy. Id. at 361–62. However, none of these defects is present in the DOT DBE

program, which is materially different from the RRF. Further, although strict scrutiny involves a

single, well-settled standard, the Supreme Court has explained that courts must take into account

“relevant differences” between programs, such as those between the DOT DBE program and the

program at issue in Vitolo. Adarand, 515 U.S. at 228 (explaining that “strict scrutiny does take

‘relevant differences’ into account”) (emphasis in original).4 As explained further below, the



4
  In Vitolo, the Sixth Circuit considered the Small Business Administration’s (SBA) distribution
of grants from the RRF, which was intended to aid small, privately owned restaurants affected by
the pandemic. Id. at 353. Notably, the program in Vitolo differed in significant ways from the DOT
DBE program. The RRF program established an initial 21-day period during which SBA gave
priority access to a pool of limited funds to restaurants that were at least 51 percent owned and
controlled by women, veterans, or socially and economically disadvantaged individuals. Id. at 356;
see also id. at 360 (enjoining the RRF program because it was available only to disadvantaged
businesses for the first 21 days, and thus “[t]here is a real risk that the funds will run out”). Here,


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program targets and seeks to remedy past, intentional discrimination in the transportation

industry—discrimination that the government has had a hand in.

       First, there is a strong basis in evidence that the DOT DBE program targets specific

episodes of past, intentional discrimination in which the government participated and now seeks

to remedy. See Pub. L. No. 117-58, § 11101(e)(1)(C), 135 Stat. at 449; Remote Hearing Before

the Committee on Transportation and Infrastructure, 116th Cong. 64 (Sept. 23, 2020).5 Since

2010, over 200 disparity studies, other reports and studies, and congressional testimony have

documented the discrimination and its lingering effects that continue to affect the ability of DBEs

to compete equally for government contracts. See Ex. 2 (Compelling Interest Report).6 Of

particular consequence are the hundreds of disparity studies that were submitted to Congress in

advance of the reauthorization of the DOT DBE program. See Pub. L. No. 117-58, §

11101(e)(1)(C), 135 Stat. at 449; Remote Hearing Before the Committee on Transportation and

Infrastructure, 116th Cong. 64 (Sept. 23, 2020).




by contrast, all subcontractors may bid on all DOT-funded contracts, and only state recipients set
DBE goals on certain projects. And even where contracts have DBE goals, recipients can meet
them using race-neutral means. See 49 C.F.R. § 26.51; cf. Ultima Servs. Corp. v. U.S. Dep’t of
Agric., 2023 WL 4633481; at *17 (E.D. Tenn. July 19, 2023) (concluding that the Small Business
Administration’s Section 8(a) program did not include race-neutral alternatives to its rebuttable
presumptions).
5
  This hearing includes the statements and testimony of Evalynn Williams, Geri E. Boyer, Mary
T. Lerdahl, and Jon S. Wainwright detailing recent instances and evidence of discrimination in
industries that DOT regulates and the need for the DOT DBE program to remediate such
discrimination.        Available       here:      https://www.govinfo.gov/content/pkg/CHRG-
116hhrg43413/pdf/CHRG-116hhrg43413.pdf.
6
  The Compelling Interest Report has been introduced in Congress. See 168 Cong. Rec. E619-20
(daily ed. June 14, 2022) (statement of Rep. Carolyn Maloney). The 2022 report updated and
expanded upon a 2010 Department of Justice Report on the same topic, which also was considered
by Congress and cited in federal court as evidence of a compelling governmental interest in
“continued remedial action through USDOT’s DBE program.” Midwest Fence Corp. v. U.S. Dep’t
of Transp., 2011 WL 2551179, at *12 (N.D. Ill. June 27, 2011) (internal quotation marks and
citation omitted).
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       In 2020, the House Committee on Transportation and Infrastructure “amassed an enormous

amount of evidence providing an exceedingly strong basis for the conclusion that discrimination

against minority- and women-owned businesses continues to affect the construction, architecture

and engineering, and related surface transportation contracting markets nationwide.” H.R. Rep.

No. 116-437, at 331 (2020). In June 2021, Congress received over 100 disparity studies published

from 2015 to 2021 as evidence of discrimination and its lingering effect based on both race and

gender in support of the reauthorization of the DOT DBE program. 167 Cong. Rec. H3505-07

(daily ed. June 30, 2021) (statement of Rep. DeFazio) (listing disparity studies); 167 Cong. Rec.

S5898-99 (daily ed. August 5, 2021) (statement of Sen. Tom Carper) (same). Also in June 2021,

Congress made specific findings as to the value of such studies: “[D]isparity studies contain

myriad analyses aimed at answering the question: ‘Does business discrimination based on race or

gender continue to exist?’ Even a cursory review of the studies reveals that the answer is

resoundingly ‘yes.’” H.R. Rep. No. 117-70, at 392–95 (2021). Congress also reviewed studies that

showed significant underutilization of DBEs in government-funded contracts and the positive

impact of the DOT DBE program. See 167 Cong. Rec. S5898 (2021).7

       These disparity studies include additional evidence and statistical methods that tie the

disparities to discrimination, including regression analyses, statistical significance—which

eliminates the possibility that the disparities could be due to random chance (rather than intentional

discrimination)—and surveys, interviews, and other qualitative evidence that document the

personal accounts of business owners and identify the discriminatory barriers that contribute to




7
  The House Committee on Transportation and Infrastructure reviewed these studies, many of
which found that disparities between DBEs and non-minority male businesses are “far greater than
the disparities that persist in the public sector where remedial programs are more routine.” H.R.
Rep. 117-70, at 393 (2021).
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many of the disparities. See Ex. 3 (Wainwright Report) at 17–19. Given the rich body of

quantitative and qualitative evidence they provide, it is unsurprising that courts consistently find

that disparity studies can provide persuasive evidence of specific instances of discrimination and

its continuing effects. See, e.g., Assoc. Gen. Contractors of Am., San Diego Chapter, Inc. v. Cal.

Dep’t of Transp., 713 F.3d 1187, 1196 (9th Cir. 2013); H.B. Rowe Co. v. Tippett, 615 F.3d 233,

257 (4th Cir. 2010); Adarand Constructors, Inc. v. Slater, 228 F.3d at 1174; Midwest Fence, 84 F.

Supp. 3d 705, 727 (N.D. Ill. 2015); Rothe Dev. Corp. v. U.S. Dep’t of Def., 107 F. Supp. 3d 183,

209–10 (D.D.C. 2015). Thus, the DOT DBE program is supported by a strong basis in evidence

that identifies “specific instances of past discrimination.” Vitolo, 999 F.3d at 361.8

        Second, and as required by the Supreme Court in Croson, statistical disparity evidence and

anecdotal evidence demonstrating the persistence of discrimination and its lingering effects in the

transportation construction industry, both at a nationwide and local level, provide a strong basis in

evidence for the constitutionality of the DOT DBE program. “Where there is a significant

statistical disparity between the number of qualified minority contractors willing and able to

perform a particular service and the number of such contractors actually engaged by the locality

or the locality’s prime contractors, an inference of discriminatory exclusion could arise.” Croson,

488 U.S. at 509 (citation omitted); see also Vill. of Arlington Heights v. Metro. Hous. Dev. Corp.,

429 U.S. 252, 266 (1977) (“[A]n invidious discriminatory purpose may often be inferred from the

totality of the relevant facts, including the fact, if it is true, that the [practice] bears more heavily

on one race than another.”). Under Vitolo, this type of discriminatory exclusion provides “evidence

of intentional discrimination in the past.” Vitolo, 999 F.3d at 361 (citing Croson, 488 U.S. at 503)



8
  As explained further infra at 23–24, the DOT DBE program is also distinguishable from the
Small Business Administration’s Section 8(a) program in multiple respects—contrary to Plaintiffs’
implication otherwise. See Br. at 8 (citing Ultima Servs. Corp., 2023 WL 4633481).
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(emphasis in original).

       Moreover, the Sixth Circuit in Vitolo specifically reaffirmed that “statistical disparities . .

. may be used as evidence to establish intentional discrimination.” Id. at 361. Although the Vitolo

court stated that “broad statistical disparities” alone are insufficient, it did not dispute that

statistical disparities may support an inference of discrimination when combined with evidence of

past discrimination in which the government has actively or passively participated. Id. Other

circuits concur. See H.B. Rowe Co., Inc., 615 F.3d at 241; Midwest Fence Corp., 840 F.3d at 945;

Concrete Works of Colo., Inc. v. Denver, 321 F.3d 950, 958 (10th Cir. 1994). And as the Supreme

Court has made clear, a “strong basis in evidence” is that “approaching a prima facie case of a

constitutional or statutory violation.” Croson, 488 U.S. at 500; see also H.B. Rowe Co., 615 F.3d.

at 241 (holding that a state actor need not “conclusively prove the existence of past or present

racial discrimination to establish a strong basis in evidence”); Cotter v. City of Boston, 323 F.3d

160, 169 (1st Cir. 2003); Brunet v. City of Columbus, 1 F.3d 390, 406 (6th Cir. 1993) (“[A] prima

facie case of intentional discrimination is sufficient to support a public employer’s affirmative

action plan.”). Unlike the RRF program at issue in Vitolo, the DOT DBE program is supported by

“evidence of past intentional discrimination against the . . . groups to whom it grants preferences,”

and it does not rely on “general social disparities.” Vitolo, 999 F.3d at 361–62.

       Plaintiffs acknowledge that, under Croson, race-based remedial measures are permissible

when they are “clearly identified and unquestionably legitimate.” Br. at 9 (quoting Croson, 488

U.S. at 505) (internal quotation marks omitted). But Plaintiffs err in characterizing Congress’s

reauthorization of the DOT DBE program as resting on “broad observations,” id. at 7, and disparity

studies that they assert provide only “general observations about race in society,” id. at 9. These

assertions are refuted by the public record.



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       Third, government contracting has historically suffered from past discrimination in which

the government had a hand. See Vitolo, 999 F.3d at 361. Plaintiffs concede that “[w]here the

government has actively or passively participated in discrimination, it may act to undo its specific

acts of intentional discrimination.” Br. at 11 (citing Croson, 488 U.S. at 492; Vitolo, 999 F.3d at

361). Here, expert reports submitted to Congress have identified substantial disparities in direct

federal government contracting and conducted regression analyses that eliminate potentially non-

discriminatory reasons for the disparities. See Ex. 4 (Chow Report).9 For example, using federal

contracting data from April 2019 to August 2020, Chow utilized regression analyses to determine

that small disadvantaged businesses (SDBs) were much less likely to win federal contracts relative

to non-SDBs with similar size, age, receipts and other characteristics. Id. at 2.

                             ii.       Croson, Not SFFA, Governs this Case.

       The government may employ race-based measures in “remedial settings” when necessary

to dispel the effects of invidious discrimination. Croson, 488 U.S. at 493 (1989). Croson controls

here, and Plaintiffs’ assertions that the DOT DBE program uses race as an impermissible

“negative” and a “stereotype” are unavailing. See Br. at 17 (quoting SFFA, 600 U.S. at 218). In

SFFA, the Supreme Court held that two universities’ use of racial classifications in university

admissions to promote the educational benefits of a diverse student body in the classroom could

not be “reconciled with the guarantees of the Equal Protection Clause.” 600 U.S. at 230.10 At the

same time, SFFA affirmed that “remediating specific, identified instances of past discrimination

that violated the Constitution or a statute” is a compelling interest. Id. at 207 (citing Parents



9
   The Chow Report was reviewed by Congress. See “Are Governmentwide Contracts Helping or
Hurting Small Contractors?”: Hearing before H. Comm. On Small Business, 117th Cong. (2022)
63–84.
10
   The Court also held that these admissions policies violated Title VI of the Civil Rights Act. See
600 U.S. at 198 n.2.
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Involved in Cmty. Sch. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 720 (2007); Shaw v. Hunt, 517

U.S. 899, 909–10 (1996)); see also id. at 215 (noting the permissibility of “a race-based benefit”

in employment discrimination cases when necessary to make “members of the discriminated class

‘whole for [the] injuries [they] suffered’”) (quoting Franks v. Bowman Transp. Co., 424 U.S. 747,

763 (1976)) (alterations in original). Nothing in SFFA affects Croson’s conclusion that “evidence

of a pattern of individual discriminatory acts can, if supported by appropriate statistical proof, lend

support to a local government’s determination that broader remedial relief is justified.” Croson,

488 U.S. at 509 (citing Int’l Bhd. of Teamsters v. United States, 431 U.S. 324, 338 (1977)).

                       b.      The DOT DBE Program Is Narrowly Tailored.

       The narrow tailoring inquiry requires a court to consider: (1) “the necessity for the relief

and the efficacy of alternative remedies”; (2) “the flexibility and duration of the relief, including

the availability of waiver provisions”; (3) “the relationship of the numerical goals to the relevant

labor market”; and (4) “the impact of the relief on the rights of third parties.” Rutherford, 179 F.

App’x at 377–78 (quoting United States v. Paradise, 480 U.S. 149, 171 (1987)). Additionally, “a

policy is not narrowly tailored if it is either overbroad or underinclusive in its use of racial

classifications.” Vitolo, 999 F.3d at 362. However, “[t]hese are not elements of a test,” and a

government affirmative action program “need not satisfy each and every item to survive strict

scrutiny.” Rutherford, 179 F. App’x at 378 (citation omitted). And “[t]here is no single ‘best’

remedy—courts and other government bodies enjoy some discretion in remedying racial

discrimination.” Id. at 377 (citing Paradise, 480 U.S. at 185).

       Application of the Paradise factors to the DOT DBE program demonstrates that it is

narrowly tailored on its face. Its implementing regulations expressly require DOT-funded

recipients to meet DBE goals through race-neutral means, and they expressly provide for



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flexibility, a nexus between DBE goals and local market conditions, and the minimization of

impact on third parties. First, the program’s implementing regulations expressly provide for the

consideration of race-neutral alternatives. DOT-fund recipients must have a DBE program of their

own, 49 C.F.R. § 26.21, with each recipient establishing its own annual goal for DBE participation

in federally funded projects based on local market conditions and upcoming projects in its location.

Id. § 26.45. Significantly, those recipients must always attempt to meet the goal by using race- and

gender-neutral means to the maximum extent possible. Id. § 26.51(a).

       Second, the DOT DBE program is flexible. The 10 percent goal that Plaintiffs assert “has

not moved,” Br. at 13 n.4, has always been not a quota but “an aspirational goal at the national

level, which [DOT] uses as a tool in evaluating and monitoring DBEs’ opportunities to participate

in DOT–assisted contracts.” 49 C.F.R. § 26.41(b).11

       Third, the DOT DBE program closely tethers its numerical goals for DBE participation to

the relevant local labor markets. See id. § 26.45(b) (requiring that a recipient’s “overall goal must

be based on demonstrable evidence of the availability of ready, willing and able DBEs relative to

all businesses ready, willing and able to participate on your DOT-assisted contracts”). Indeed,

DBE goals “must reflect [the recipient’s] determination of the level of DBE participation [it] would




11
   Plaintiffs’ Brief later mischaracterizes the 10 percent goal as a “never-wavering 10% set-aside,”
which is false. Br. at 15. As explained above, recipients are prohibited from using set-aside
contracts for DBEs except under extremely limited circumstances. See 49 C.F.R. § 26.43(b).
Moreover, Plaintiffs’ Brief inaccurately describes the program as having remained “static for four
decades.” Br. at 13 (emphasis in original). This is also false. A recipient’s overall DBE goals, as
well as the portion of those goals met through race- and gender-based means, are not static and
change over time. For example, in Indiana (where Plaintiffs are based), the percentage of DOT
funds awarded to DBE firms through race- and gender-based means decreased from 7.55% in 2017
to 5.26% in 2023, while the percentage of funds awarded to DBE firms through race- and gender-
neutral means increased during the same time period from 3.19% to 6.36%. Some recipients have
even shifted to the use of exclusively race-neutral means; eight states currently administer their
programs in this manner. See Ex. 1 (Kenley Decl.), ¶ 4.
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expect absent the effects of discrimination,” and recipients may not “simply rely on either the 10

percent national goal, [its] previous overall goal, or past DBE participation rates in [its] program

without reference to the relative availability of DBEs in [their] market.” Id.

       Fourth, the DOT DBE program attempts to minimize the impact of any race- or gender-

based classifications on the rights of non-minority third parties. Significantly, as noted, recipients

“must meet the maximum feasible portion of [their] overall goal by using race-neutral means of

facilitating race-neutral DBE participation.” Id. § 26.51(a). And the presumption of economic

disadvantage for both minority and women applicants does not apply to all minority- or women-

owned businesses because it may be rebutted if the business owner has a personal net worth in

excess of $1.32 million or is able to accumulate substantial wealth. See id. § 26.67(b).

       Finally, the DOT DBE program is neither overbroad nor underinclusive. The program is

not overbroad because its presumptions do not invariably apply to all minority- or women-owned

businesses.12 See Midwest Fence, 840 F.3d at 945–46 (“Though the minority groups in question

are given presumptive DBE status across the board, the federal regulations ultimately require

individualized determinations. Each presumptively disadvantaged firm owner must certify that he

or she ‘is, in fact, socially and economically disadvantaged,’ 49 C.F.R. § 26.67(a)(1), and that

presumption can be rebutted.”); see also 49 C.F.R. § 26.5 (providing that “a DBE must be ‘at least

51 percent owned by one or more individuals who are both socially and economically

disadvantaged’”). And the applicable regulations contain only presumptions, which are rebuttable




12
   Specifically, DBE applicants must “submit a signed, notarized certification that each
presumptively disadvantaged owner is, in fact, socially and economically disadvantaged,” 49
C.F.R. § 26.67(a)(1), “certify that he or she has a personal net worth that does not exceed $1.32
million,” id. § 26.67(a)(2)(i), “support [the certification] with a signed, notarized statement of
personal net worth, with appropriate supporting documentation,” and, on a case-by-case basis,
provide additional financial information, id. § 26.67(a)(2)(ii).
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by recipients. See 49 C.F.R. § 26.67(b). As explained, recipients may rebut the presumption of

economic disadvantage when an owner submits a statement that either shows a personal net worth

in excess of $1.32 million or demonstrates the owner’s ability to accumulate substantial wealth.

Id. § 26.67(b).

       Conversely, the program is not underinclusive. Plaintiffs mischaracterize the program as

categorically “exclud[ing] every contractor who owns less than 51% of his/her business,” Br. at

14, when, in fact, a small business can be certified as a DBE as long as it is majority-owned by

one or more socially and economically disadvantaged individuals, see 49 C.F.R. § 26.5. And even

if a firm’s owners are not presumed to be socially and economically disadvantaged, it may also

qualify for DBE status, as noted above—regardless of its owners’ race or gender. See id. § 26.67(d)

(providing that “[f]irms owned and controlled by individuals who are not presumed to be socially

and economically disadvantaged . . . may apply for DBE certification” on a case-by-case basis).

       Material differences between the DOT DBE program and SBA’s Section 8(a) program

mean that nothing in Ultima Services Corporation v. U.S. Department of Agriculture, 2023 WL

4633481 (E.D. Tenn. July 19, 2023), calls these conclusions into question. In Ultima, a district

court reviewed the regulatory presumptions of social disadvantage in SBA’s Section 8(a) program

and found that they could not withstand strict scrutiny. Id. at *18 (holding that “Defendants’ use

of the rebuttable presumption violates Ultima’s Fifth Amendment right to equal protection of the

law”). But the narrow tailoring considerations applicable to the Section 8(a) program materially

differ from those for the DOT DBE program. The Section 8(a) program involves the set-aside and

direct award of contracts to small and disadvantaged businesses from the federal government, see

15 U.S.C. § 637(a), while the DOT DBE program does not. The DOT DBE program requires the

use of race-neutral means to the maximum extent possible, has measurable and locally set



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contracting goals, and uses set-asides only in very limited circumstances. All of these differences

limit the impact of the program on non-DBEs, encourage race-neutral options, and serve to

narrowly tailor the program to remedy discrimination and its lingering effects.

       B.      Plaintiffs Cannot Show Irreparable Harm.

       To demonstrate irreparable harm, Plaintiffs must show that, in the absence of the relief they

seek, “they will suffer ‘actual and imminent’ harm rather than harm that is speculative or

unsubstantiated.” Abney v. Amgen, Inc., 443 F.3d 540, 552 (6th Cir. 2006) (quoting Monsanto Co.

v. Manning, 841 F.2d 1126, 1988 WL 19169, at *6 (6th Cir. Mar. 8, 1988); citing Heideman v.

South Salt Lake City, 348 F.3d 1182, 1189 (10th Cir. 2003)). “Additionally, an unreasonable delay

in filing for injunctive relief will weigh against a finding of irreparable harm.” Allied Erecting and

Dismantling Co. v. Genesis Equip. & Mfg., Inc., 511 F. App’x 398, 405 (6th Cir. 2013) (citation

omitted).

       It is true, as Plaintiffs emphasize, that constitutional harms are generally presumed to be

irreparable—i.e., incapable of being remedied after the fact. See Br. at 23–24. “That presumption

of irreparability, however, does not change the fact that the plaintiff must still demonstrate

imminence.” Mitchell v. City of Cincinnati, 2022 WL 4546852, at *4 (6th Cir. 2022) (citing

Memphis A. Philip Randolph Inst. v. Hargett, 978 F.3d 378, 391 (6th Cir. 2020)) (emphases

added). As discussed supra at 5–12, Plaintiffs have failed to demonstrate that they face an “actual,

concrete, particularized, and imminent threat of harm.” Memphis A. Philip Randolph Inst., 978

F.3d at 388. Plaintiffs have not identified any contracts with DBE goals in Kentucky or Indiana

that are currently being let, nor have they identified whether those contracts contain subcontracting

opportunities in their industry. Absent these facts, and in light of Plaintiffs’ lengthy delay in

moving for preliminary relief, Plaintiffs cannot establish that any potential harm caused by the



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DOT DBE program is imminent so as to warrant a preliminary injunction.

       C.      The Balance of Harms and Public Interest Favor Defendants.

       On the third and fourth factors, the balance of harms overwhelmingly favors Defendants,

and the injunction Plaintiffs seek is manifestly contrary to the public interest. See Nken v. Holder,

556 U.S. 418, 435 (2009) (noting that “[t]hese factors merge when the Government is the opposing

party”). As Plaintiffs concede, see Br. at 24, the government and the public always have a strong

interest in the implementation of the laws enacted by their elected representatives. See Maryland

v. King, 567 U.S. 1301, 1303 (2012) (“Any time a [government] is enjoined by a court from

effectuating statutes enacted by representatives of its people, it suffers a form of irreparable

injury.”). This is particularly true when Congress has continually reenacted a statute over more

than 40 years. See Defs.’ Mot. to Dismiss Pls.’ Compl., ECF No. 31, at 4 n.2.

       Plaintiffs nevertheless contend that a preliminary injunction is necessarily in the public

interest because they allege the violation of a constitutional right. See Br. at 24. But Plaintiffs fail

to explain why the sweeping injunction they seek would be necessary, appropriate, or in the public

interest to remedy the DOT DBE program’s alleged constitutional flaw, which concerns solely the

use of race-based presumptions. Rather, such a sweeping injunction would be contrary to the

public interest because it would be particularly harmful to other parties—all other contractors,

regardless of their race, would not be able to take advantage of the DOT DBE program. Such an

injunction would, in turn, harm other small businesses.

       D.      Even if the Court Determines that Injunctive Relief Is Appropriate, It Should
               Strictly Limit Its Scope.

       Even if the Court determines that Plaintiffs’ legal claims have merit and preliminary

injunctive relief is appropriate, the Court should decline to enter the sweeping injunction Plaintiffs

seek. “District courts ‘should not issue relief that extends further than necessary to remedy the

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plaintiff’s injury.’” L.W. ex rel. Williams v. Skrmetti, 83 F.4th 460, 490 (6th Cir. 2023), petitions

for cert. pending, No. 23-477. (filed Nov. 6. 2023), No. 23-492 (filed Nov. 9. 2023) (quoting

Kentucky v. Biden, 57 F.4th 545, 556 (6th Cir. 2023)); see also Gill v. Whitford, 138 S. Ct. 1916,

1933 (2018) (“The Court’s constitutionally prescribed role is to vindicate the individual rights of

the people appearing before it.”); Trump v. Hawaii, 138 S. Ct. 2392, 2425 (2018) (Thomas, J.

concurring) (explaining that nationwide injunctions “take a toll on the federal court system—

preventing legal questions from percolating through the federal courts, encouraging forum

shopping, and making every case a national emergency for the courts and for the Executive

Branch”). Thus, the “plaintiff’s remedy must be tailored to redress the plaintiff’s particular injury.”

Gill, 138 S. Ct. at 1934.

               1.      Any Injunction Should Be Limited to Extending the Program’s
                       Presumption of Disadvantage to Plaintiffs, or Alternatively, to
                       Eliminating DBE Goals from Contracts on Which Plaintiffs Bid.

       The Sixth Circuit has made clear that “[d]istrict courts ‘should not issue relief that extends

further than necessary to remedy the plaintiff’s injury.’” Skrmetti, 83 F.4th at 490) (quoting

Kentucky v. Biden, 57 F.4th at 556). Thus, while “district courts are not categorically prohibited

from granting injunctive relief benefitting an entire class in an individual suit, such broad relief is

rarely justified because injunctive relief should be no more burdensome to the defendant than

necessary to provide complete relief to the plaintiffs.” Sharpe v. Cureton, 319 F.3d 259, 273 (6th

Cir. 2003) (emphasis in original) (citing Califano v. Yamasaki, 442 U.S. 682, 702 (1979);

Aluminum Workers Int’l Union Local Union No. 215 v. Consol. Aluminum Corp., 696 F.2d 437,

446 (6th Cir. 1982)).13 The Sixth Circuit’s long-standing rule is consistent with skepticism about



13
   Accordingly, the Sixth Circuit has repeatedly reversed or narrowed injunctions that imposed
relief extending beyond the plaintiff or plaintiffs. See, e.g., Kentucky v. Biden, 57 F.4th at 557


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“universal injunctions” recently expressed by certain Supreme Court justices. See, e.g., United

States v. Texas, 599 U.S. 670, 693–94 (2023) (Gorsuch, J., concurring in the judgment); Dep’t of

Homeland Sec. v. New York, 140 S. Ct. 599, 600–01 (2020) (Gorsuch, J., concurring in grant of

stay); Trump v. Hawaii, 585 U.S. ___, 138 S. Ct. 2392, 2426–29 (2018) (Thomas, J., concurring).

Indeed, the Chief Judge of the Sixth Circuit has expressed similar skepticism. See Arizona v. Biden,

40 F.4th 375, 395–96 (6th Cir. 2022) (Sutton, C.J., concurring).

       Here, because Plaintiffs have brought this lawsuit only on their own behalf and on the basis

that they alone are “qualified, willing, and able” to bid on contracts affected by the DOT DBE

program, see Compl. ¶¶ 11, 12, 40, 51, the Court should, if it determines that preliminary injunctive

relief is appropriate, limit that relief to the named Plaintiffs. The alleged injury described by

Plaintiffs would be remedied by an order directing that Plaintiffs should be presumed to be

socially- and economically-disadvantaged if and when they apply for DBE certification. Such

relief would eliminate the only race- or gender-related barrier Plaintiffs might possibly currently

face, which is that their owners might not be presumed to be disadvantaged and would have to



(affirming the district court’s preliminary injunction against a federal contractor vaccine mandate
but modifying “its scope to prohibit the federal government from enforcing the contractor mandate
against the parties only”); Skrmetti, 83 F.4th at 490 (holding that district court abused its discretion
in preliminarily enjoining Tennessee and Kentucky laws banning certain medical treatments as
applied to every individual in those states, when the individual plaintiffs could not show that
“statewide relief is necessary to remedy their injuries”); Warshak v. United States, 532 F.3d 521,
531 (6th Cir. 2008) (holding that it was not appropriate for the district court to grant a preliminary
injunction that applied to every individual in the judicial district, when the plaintiff made no
showing “why the injunction needed to run in favor of other individuals in order to protect him”);
Sharpe, 319 F.3d at 273 (“The injunction issued by the district court is overly broad in that the
class wide focus is completely unnecessary to provide the named plaintiffs the relief to which they
are entitled as prevailing parties.”); see also Ohio v. Becerra, ___ F.4th ___, 2023 WL 8270957,
at *15 (6th Cir. Nov. 30, 2023) (upholding preliminary injunction against Health and Human
Services rule but limiting the applicability of the injunction to the single plaintiff that had
demonstrated irreparable harm). Cf. Washington v. Reno, 35 F.3d 1093, 1104 (6th Cir. 1994)
(explaining why, under the particular circumstances of the case, injunction would only remedy the
individual plaintiff inmates’ harm if it extended to all inmates).
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make individual showings of disadvantage. See 49 C.F.R. § 26.5 (indicating that individuals can

be evaluated as a DBE on a case-by-case basis, regardless of the presumptions).14

       Alternatively, the Court could order that DBE goals be removed from any contracts on

which Plaintiffs bid. This broader relief would go further than necessary, as it would extend a

benefit to all non-DBEs—not just Plaintiffs—with respect to contracts on which Plaintiffs bid, and

would thus extend to individuals or entities not before the Court. See Gill, 138 S. Ct. at 1933 (2018)

(“The Court’s constitutionally prescribed role is to vindicate the individual rights of the people

appearing before it.”). But such an injunction would at least be far more tailored to the actual

alleged injury of the Plaintiffs themselves than the sweeping relief they seek.

               2.      Plaintiffs Are Not Entitled to the Broad Nationwide Injunction They
                       Seek.

       Plaintiffs seek an injunction that sweeps far beyond the scope of any potential injury that

they have alleged, one that would enjoin regulations implementing the DBE program as a whole,

including parts of the program that do not use race- or gender-conscious presumptions. See ECF

No. 27-4.15 This broad relief is inappropriate for several reasons.

       First, Plaintiffs’ conclusory and unspecific assertions are insufficient to warrant

prospective relief anywhere, let alone on a nationwide basis. See City of Los Angeles v. Lyons, 461

U.S. 95, 101-02 (1983) (holding that a plaintiff seeking prospective relief to remedy a

constitutional violation “must show that he has sustained or is immediately in danger of sustaining

some direct injury as the result of the challenged official conduct and the injury or threat of injury



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   However, as pled in their Complaint, Plaintiffs fail to allege that they would qualify for DOT
DBE funding under the race- and gender-neutral requirements of the program. See supra at 9–12;
see also Defs.’ Mot. to Dismiss Pls.’ Compl., ECF No. 31, at 18–20.
15
   Specifically, Plaintiffs seek to enjoin 49 C.F.R. §§ 26.21, 26.41, 26.45, 26.47, 26.5, 26.51, 26.53,
26.67, and 26.69. None of these provisions implicates the DOT DBE program’s race- or gender-
based presumptions.
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must be both real and immediate, not conjectural or hypothetical’”) (internal quotation marks and

citations omitted). But Plaintiffs assert merely that they “regularly” bid on milling (as to MAMCO)

or hauling (as to Bagshaw) contracts in Indiana and Kentucky, Br. at 4, that “[b]oth Indiana and

Kentucky continuously post new opportunities to bid, and these upcoming projects continue to

require DBE goals,” making it “certain that each month that goes by, Bagshaw will continue to be

negatively impacted by the race and gender preferences imposed by the DBE program,” Bagshaw

Decl., ¶ 17, and that “absent discriminatory criteria mandating race and gender preferences for

contractors, MAMCO would not be deterred from further competition for federal roadbuilding

contracts and could place additional bids,” Koetter Decl., ¶¶ 33–34, putting MAMCO at a

disadvantage.

        Second, enjoining all of these provisions targeted by Plaintiffs would effectively enjoin the

whole DOT DBE program, even its race- and gender-neutral components, impacting and harming

even those DBEs that have been so certified without the benefit of any race- or gender-based

presumptions contained in the regulations. Plaintiffs state that they wish only to “compete on equal

footing,” Br. at 6, but they have not explained why dismantling the entire program is necessary to

do so, since many parts of the program do not use race- or gender-based presumptions at all. See

49 C.F.R. §§ 26.21, 26.41, 26.45, 26.47, 26.5 (listing definitions other than the definition of

socially and economically disadvantaged that includes reference to particular races or genders),

26.51, 26.53; 13 C.F.R §§ 124.101, 124.104, 124.105. Thus, enjoining those provisions that do not

refer or make use of race- or gender-based provisions would create a “remedy” that is not “tailored”

to redress Plaintiffs’ specific individual injuries. See Gill, 138 S. Ct. at 1934. Indeed, Plaintiffs ask

the Court to enjoin certain provisions of 13 C.F.R. Part 124 that govern an entirely separate

program—the Small Business Administration’s Section 8(A) program—without ever explaining



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why that would be appropriate. Finally, if the Court were inclined to sweepingly enjoin the DOT

DBE program’s presumptions and participation goals, it should choose to do so only with respect

to Kentucky and Indiana, since Plaintiffs have not shown any potential injury to them in any other

jurisdiction. And again, Defendants likely could not force the states from continuing to apply these

elements of the program, but it could tell the states that DOT will no longer require them to apply

the elements.

IV.    CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiffs’ Motion for Preliminary

Injunction.



Dated: January 26, 2024                              Respectfully submitted,

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